Case 2:17-cV-00198-D.]H Document 13-1 Filed 12/14/16 Page 1 of 2

Javier '1`0rres 271538

STINSON LE NARD TREET LLP
1850 North Central Avenue, Suite 2100
Phoenix, Arizona 85 004-45 84

Tel: (602) 279-1600

Fax: _5602)_240-6925 _

Ernai : javier.torres@stinson.com

Attorneys for HKB, Inc., dba Southwest
Industrial Rigging; Harry Kent Baker, Scott
William Miller and James Do%las Wilson

UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

 

 

CARPENTERS SOUTHWEST CASE NUMBER 2: 16-cv-08040-MWF-SK
ADMIN_ISTRATIVE CORPO_RATION’ a C|ick here to enter the case number.
Cahfornia non-profit corporation; and
BOARD OF TRUSTEES FOR THE
CARPENTERS SOUTHWEST TRUSTS,

Plaimiff(s)

 

V.
HKB, INC., an Arizona corporation, doing
business as SOUTHWEST INDUSTRIAL
RIGGING; HARRY KENT BAKER’ an (PRoPosEI)) 0RDER oN APPLICATIoN oF
injivi§ua:§ §§1€[§§ §(I)I£“é§;/ISL§%§§;I&H NoN-RESIDENT ATToRNEY To APPEAR IN
m _“'Cli_ u_:i ’ l ’ A sPECIFIC cAsE PRo mc VICE
an ll’l lVl 113 ,

 

Defendant(s).
The Court, having determined whether the required fee has been paid, and having reviewed the Application of
Non-Resident Attorney to Appear in a Specific Case Pro Hac Vice filed by

 

 

 

 

 

HOLLAND, JR., JAMES E. Of STINSON LEONARD STREET LLP
Applicant’s Name (Last Name, First Name & Middle Initial 1850 North Central Avenue, Suite 2100
602-279-1600 602-240-6925 PhOeniX, Arizona 85004
Telephone Number Fax Number
James.hollar@stinson.com

E-Mail Aa’a’ress Firm/Agency Name & Aa’a’ress

for permission to appear and participate in this case on behalf of
I-]KB, INC., an Arizona corporation, doing business as SOUTHWEST INDUSTRIAL
RIGGING; HARRY KENT BAKER; SCOTT WILLIAM MILLER; JAMES DOUGLAS
WILSON

 

 

 

 

 

 

Name(s) of Parly(ies) Represent [:1 Plaintijf(s) 13 Defena’ant(s) [1 Other.'
and designating as Local Counsel
Torres, Javier of STINSON LEONARD STREET LLP
Designee’s Name (Last Name, First Name & Mia’dle Initial 1850 North Central Avenue, Suite 2100
271538 602-279-1600 602-240-6925 Phoenix, Arizona 85004
Designee ’s Cal. Bar No. Telephone Fax Number
Number

 

 

 

CORE/3008422'0002/130595163-1 (PROPOSED) ORDER ON APPLICATION OF NON-RESID!‘I§¢T¢ATI`OR`NEY TO APPEAR IN A SPECIFIC CASE PRO HAC page l nf~ l

Case 2:17-cV-00198-D.]H Document 13-1 Filed 12/14/16 Page 2 of 2

 

Javier.torres@stinson.com 1

 

 

E-Mail Address Fl`rm/Agency Name & Address
HEREBY ORDERS THAT the Application be:
[l GRANTED
\:IDENIED; for failure to pay the required fee.

for failure to attach a Certificate of Good Standing issued within 30 days prior to filing of Application.

 

pursuant to L.R. 83-2.1.3.2: 1:lApplicant resides in California; 1:1 previous Applications listed indicate Applicant

|:|
l:l
i:l for failure to complete Application:
|:l
is regularly employed or engaged in business, professional, or other similar activities in California.
|:|

pursuant to L.R. 83-2.1.3.4; Local Counsel: 1:1 is not member of Bar of this Court; 1:] does not maintain office
District.

1:] because
IT IS HEREBY FURTHER ORDERED THAT the Application fee, if paid: l:l be refunded l:l not be refunded.

 

Dated: Clicl< here to enter a date

 

U.S. District Judge/U.S. Magistrate Judge

 

CORE/3008422'0002/1305951631 (PROPOSED) ORDER ON APPLICATION Ol" NON-RESIDl'Il‘{:l:A'I'I`ORNEY TO APPEAR IN A SPECIFIC CASE PRO HAC paup l nf l

